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                                                                The Honorable Robert J. Bryan
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                                     UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
8                                             AT TACOMA

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     C. P., by and through his parents, Patricia          NO. 3:20-cv-06145-RJB
10   Pritchard and Nolle Pritchard; and
     PATRICIA PRITCHARD,                                  STIPULATION AND [PROPOSED]
11                                                        ORDER RE: CASE SCHEDULING
                               Plaintiffs,                ORDER
12
             v.
13                                                        Noted for Consideration:
     BLUE CROSS BLUE SHIELD OF ILLINOIS,                   January 3, 2023
14
                               Defendant.
15

16                                           I.   STIPULATION

17           The parties, by and through their counsel, stipulate that the operative Order

18   Amending Case Scheduling Order and subsequent modifications (Dkt. No. 73) should

19   be stricken, for good cause.

20           Since the Court issued its Order on Cross Motions for Summary Judgment, Dkt.

21   No. 146 and 148, corrected), the parties have met and conferred regarding the upcoming

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     case deadlines and the timing for the remedies briefing ordered by the Court. The parties

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     agree that the Court’s determination of the appropriate remedies to be awarded to

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     plaintiffs and the plaintiff class may eliminate the need for a trial or may result in a

25
     significantly narrowed trial on issues related to remedies.

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                                                                          SIRIANNI YOUTZ
     STIPULATION AND ORDER RE:                                      SPOONEMORE HAMBURGER PLLC
     CASE SCHEDULING ORDER – 1                                        3101 WESTERN AVENUE, SUITE 350
     [Case No. 3:20-cv-06145-RJB]                                        SEATTLE, WASHINGTON 98121
                                                                    TEL. (206) 223-0303 FAX (206) 223-0246
              Case 3:20-cv-06145-RJB Document 149 Filed 01/03/23 Page 2 of 5




1             As a result, the parties agree and stipulate that the current pre-trial and trial dates

2    should be stricken from the Court’s calendar, and that the parties will engage in briefing

3    on the proposed remedies. Within ten days after the Court’s determination of the

4    briefing regarding remedies, the parties will meet and confer to determine whether a

5    trial schedule is still required to resolve the remaining issues in the case, if any. If the

6    parties determine that a trial is required, they will propose a mutually agreed upon trial

7    schedule. 1

8             In sum, for good cause, the parties stipulate that the remaining deadlines in the

9    case scheduling order should be stricken, and the following briefing schedule regarding

10   remedies should be ordered:

11            Plaintiff Class’s Motion re: Remedies should be filed by no later than February 9,

12   2023, and noted for no later than March 3, 2023. Briefing on remedies should proceed

13   according to the timing and requirements for summary judgment motions. Within ten

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     days after the Court’s decision on the Plaintiff Class’s Motion, the parties will meet and

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     confer to determine whether any issues remain for trial, and if so, will propose a

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     mutually agreeable trial schedule. If no trial is required, the parties will so notify the

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     Court.

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         1 Defendant’s counsel expressed that it intends to move to decertify the class.    Plaintiff Class maintains
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     that a motion for decertification is improper after the Court issued a judgment on classwide liability,
     pursuant to Rule 23(c)(1)(c). Defendant anticipates moving to decertify on or before February 9, 2023, but
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     the Plaintiff class does not stipulate or agree that such a motion is either proper or requested by the Court’s
     Order, Dkt. No. 146 and 148.
26
                                                                                       SIRIANNI YOUTZ
     STIPULATION AND ORDER RE:                                                   SPOONEMORE HAMBURGER PLLC
     CASE SCHEDULING ORDER – 2                                                      3101 WESTERN AVENUE, SUITE 350
     [Case No. 3:20-cv-06145-RJB]                                                      SEATTLE, WASHINGTON 98121
                                                                                  TEL. (206) 223-0303 FAX (206) 223-0246
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1            IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

2            DATED: January 3, 2023.

3     KILPATRICK TOWNSEND                    SIRIANNI YOUTZ
      & STOCKTON LLP                         SPOONEMORE HAMBURGER PLLC
4
         /s/ Gwendolyn C. Payton                /s/ Eleanor Hamburger
5
      Gwendolyn C. Payton (WSBA #26752)      Eleanor Hamburger (WSBA #26478)
6
      John R. Neeleman (WSBA #19752)         Daniel S. Gross (WSBA #23992)
      Stephanie N. Bedard, pro hac vice
7                                            LAMBDA LEGAL DEFENSE AND
      Attorneys for Defendant
                                             EDUCATION FUND, INC.
8     Blue Cross Blue Shield of Illinois
                                                /s/ Omar Gonzalez-Pagen
9                                            Omar Gonzalez-Pagan, pro hac vice
                                             Jennifer C. Pizer, pro hac vice
10
                                             Attorneys for Plaintiffs
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                                                                  SIRIANNI YOUTZ
     STIPULATION AND ORDER RE:                              SPOONEMORE HAMBURGER PLLC
     CASE SCHEDULING ORDER – 3                                 3101 WESTERN AVENUE, SUITE 350
     [Case No. 3:20-cv-06145-RJB]                                 SEATTLE, WASHINGTON 98121
                                                             TEL. (206) 223-0303 FAX (206) 223-0246
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                                             II. ORDER
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             Pursuant to the Stipulation by all parties, IT IS SO ORDERED that the Order
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     Amending Case Scheduling Order, Dkt. No. 73, is stricken. Plaintiff Class’s Motion re:
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     Remedies shall be filed by no later than February 9, 2023, and noted for no later than
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     March 3, 2023.         Briefing on remedies shall proceed according to the timing and
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     requirements for summary judgment motions.             Within ten days after the Court’s
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     decision on the Plaintiff Class’s Motion, the parties shall meet and confer to determine
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     whether any issues remain for trial, and if so, shall propose a mutually agreeable trial
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     schedule. If no trial is required, the parties shall so notify the Court.
9

10           DATED this ______ day of January, 2023.

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                                                              ROBERT J. BRYAN
13                                                        United States District Judge

14   Presented by:

15   SIRIANNI YOUTZ
     SPOONEMORE HAMBURGER PLLC
16
        /s/ Eleanor Hamburger
17   Eleanor Hamburger (WSBA # 26478)
     Richard E. Spoonemore (WSBA #21833)
18
     LAMBDA LEGAL DEFENSE AND
19
     EDUCATION FUND, INC.
20      /s/ Omar Gonzalez-Pagan
     Omar Gonzalez-Pagan, pro hac vice
21
     Jennifer C. Pizer, pro hac vice
22
     Attorneys for Plaintiffs
23

24

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26
                                                                           SIRIANNI YOUTZ
     STIPULATION AND ORDER RE:                                       SPOONEMORE HAMBURGER PLLC
     CASE SCHEDULING ORDER – 4                                          3101 WESTERN AVENUE, SUITE 350
     [Case No. 3:20-cv-06145-RJB]                                          SEATTLE, WASHINGTON 98121
                                                                      TEL. (206) 223-0303 FAX (206) 223-0246
             Case 3:20-cv-06145-RJB Document 149 Filed 01/03/23 Page 5 of 5




     Approved for entry:
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     KILPATRICK TOWNSEND
     & STOCKTON LLP
3
        /s/ Gwendolyn C. Payton
4    Gwendolyn C. Payton (WSBA #26752)
     John R. Neeleman (WSBA #19752)
5    Stephanie N. Bedard, pro hac vice
6    Attorneys for Defendant
     Blue Cross Blue Shield of Illinois
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                                                                SIRIANNI YOUTZ
     STIPULATION AND ORDER RE:                            SPOONEMORE HAMBURGER PLLC
     CASE SCHEDULING ORDER – 5                               3101 WESTERN AVENUE, SUITE 350
     [Case No. 3:20-cv-06145-RJB]                               SEATTLE, WASHINGTON 98121
                                                           TEL. (206) 223-0303 FAX (206) 223-0246
